0'1& 85 (Rev. 0/) NoticeDQG5HVSRQVHRQ5HIHUHQFHof a Civil Action to a Magistrate Judge



                                        UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Middle District
                                                      __________       of North
                                                                 District       Carolina
                                                                           of __________

                                                                             )
                                Plaintiff                                    )
                                   v.                                        )    Civil Action No.
                                                                             )
                              Defendant                                      )



           NOTICE$1' 5(63216(215()(5(1&( OF A CIVIL ACTION TO A
                             MAGISTRATE JUDGE

       Notice of a magistrate judge’s availability. A United States magistrate judge of this
court is available to conductall proceedings in this civil action (including a jury or nonjury trial)
and to order the entry of a final judgment. The judgmentmay then be appealed directly to the
United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent. You may consent to have
your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwisebe involved with your case.

BBBBBBBBBBConsent to a magistrate judge’s authority. ,QDFFRUGDQFHZLWK86&WKH
XQGHUVLJQHGSDUW\RUSDUWLHVYROXQWDULO\consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial
proceedings. $QDSSHDOIURPDMXGJPHQWHQWHUHGE\DPDJLVWUDWHMXGJHPD\EHWDNHQGLUHFWO\WR
WKHFRXUWRIDSSHDOVIRUWKLVFLUFXLWLQWKHVDPHPDQQHUDVIURPDQ\RWKHUMXGJPHQWRIDGLVWULFW
FRXUW
BBBBBBBBBB'HFOLQHFRQVHQWWRDPDJLVWUDWHMXGJH¶VDXWKRULW\,GRQRWFRQVHQWWRKDYHD
8QLWHG6WDWHVPDJLVWUDWHMXGJHFRQGXFWDOOSURFHHGLQJVLQWKLVFDVH




Date:
                                                                                                6LJQDWXUHRI3DUW\RU$WWRUQH\



                                                                                                 Printed name RI3DUW\RU$WWRUQH\


Note:'2127),/(7+,6)250217+((&)6<67(0
      Return this form to the clerk of courtE\HPDLOWRPMIRUP#QFPGXVFRXUWVJRYRUE\PDLOWR
      :HVW0DUNHW6WUHHW*UHHQVERUR1&'RQRWUHWXUQWKLVIRUPWRDMXGJH


                  Case 1:23-cv-00114-KDB-SCR Document 9-1 Filed 02/08/23 Page 1 of 1
